Case 8:15-cv-01206-.]DW-.]SS Document 8 Filed 07/07/15 Page 1 of 1 Page|D 49

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
CANDACE CHISM,
Plaintiff,
v. Case No: 8:15-cv-1206-T-27JSS
DT CREDIT COMPANY, LLC,
Defendant.
/
MI_{

BEFORE THE COURT is Defendant DT Credit Company’s Motion to Dismiss or in the
Alternative Motion to Stay and Cornpel Arbitration (Dkt. 3). Plaintiff has not responded and the
time in which to do so has passed. Upon consideration, the Motion is GRANTED. This case is
DISMISSED in favor of arbitration in accordance With the parties agreement to arbitrate (Dkt. 3-1).
The Clerk is directed to CLOSE the file.

1b
DONE AND ORDERED this 7 day of July, 2015.

 

ES D. WHITTEMORE
nited States District Judge

Copies to:
Counsel of Record

